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  AO 245C         (Rev. 09/11) Amended Judgment In a Criminal Case                                                        (NOTE: identify Changes with Asterisks (*))
  vi              Sheet I

                                              UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF ALABAMA
            UNITED STATES OF AMERICA                                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                        (WO)
                       V.
             COURTNEY DJARIS WILSON                                                   Case Number: 3:11crOO8-02-WKW
                                                                                      USM Number: 10969-002
Date of Original Judgment: 8/27/2012                                                  Daniel G. Hamm
(Or Date of Last Amended Judgment)                                                    Defendant's Attorney
Reason for Amendment:
LI Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                    LI Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
    Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    LI Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               LI Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                         to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
SK             of Sentence for Clerical Mistake (Fed, R. Crim, P. 36)
                                                                                      O Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                              IS U.S.C. § 3559(c)(7)
                                                                                      0 Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
LI pleaded guilty to count(s)
LI pleaded nolo contendere to count(s)
    which was accepted by the court.
Rr was found guilty on count(s)       1ss-7ss of the Second Superseding Indictment on 04/06/2012
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                 Offense Ended                  Count
 18:924(o); 2                         Conspiracy to Possess Firearms in Furtherance of                                 10/31/2009                     1 ss
                                         Crimes of Violence; Aiding and Abetting
 18:2119(l)-(2); 2                    Attempted Motor Vehicle Theft; Aiding and Abetting                               10/31/2009                     2ss
 18:924(c)(1)(A)(ii); 2                Brandishing of a Firearm in Furtherance of a                                    10/31/2009                     3ss
                                          Crime of Violence; Aiding and Abetting
Iii See additional count(s) on page 2
      The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)
   Count(s) 1, 1 s-3s, 4s and 8ss                                LI is    tare dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                08/21/2012
                                                                                 Date oF imposition of Judgment




                                                                                 Signature ofJudge

                                                                                W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                 Name of Judge                                   Title of Judge


                                                                                Datc9tj&
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     DEFENDANT: COURTNEY DJARIS WILSON
     CASE NUMBER: 3:1 lcrOO8-02-WKW

                                            ADDITIONAL COUNTS OF CONVICTION
 Title & Section                 Nature of Offense                                      Offense Ended            Count
 18:2119(l)-(2)—,-2                Motor Vehicle Theft; Aiding and Abetting              10/31/2009                 4ss

 18:924(c)(1)(A)(ii)-(iii),        Brandishing and Discharging of a Firearm in           10/31/2009                 5ss

 924(c)(1)(C)(i); 2                Furtherance of a Crime of Violence;

                                   Aiding and Abetting

 18:1951 (a); 2                    Interference with Commerce by Threats or Violence;    10/31/2009                 6ss

                                   Aiding and Abetting

 18:924(c)(1)(A)(1i),              Brandishing of a Firearm in Furtherance of a          10/31/2009                 7ss

 924(c)(1 )(C)(i); 2               Crime of Violence; Aiding and Abetting
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AU 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
vi           Sheet 2 - Imprisonment

                                                                                                                   Judgment Page: 3 of 7
  DEFENDANT: COURTNEY OJARIS WILSON
  CASE NUMBER: 3:1 lcrOO8-02-WKW


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of:
   (*) 894 Months. This sentence consists of 210 months on Cts. lss, 2ss, 4ss and Bss concurrent, 7 years consecutive as to
                      Cts. 3ss, 25 years consecutive on Ct. 5ss and 25 years consecutive on Ct. 7ss.



          The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends that defendant be designated to a facility where intensive drug treatment and vocational and
  educational training are available.



          The defendant is remanded to the custody of the United States Marshal.

      El The defendant shall surrender to the United States Marshal for this district:
          El at                ______                El a.m.      El p.m.       on

          El as notified by the United States Marshal.

      El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          El before                 on

          El as notified by the United States Marshal.
          El as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                            to

  a                                                      with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL
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AO 245C        (Rev. 09/11) Amended Judgment in a Criminal Case
vi             Sheet 3— Supervised Release

                                                                                                                          Judgment Page: 4 of 7
DEFENDANT: COURTNEY DJARIS WILSON
CASE NUMBER: 3:11 crOO8-02-WKW
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 Years. This term consists of 5 years as to Counts 2ss, 3ss, 4ss, 5ss and 7ss and 3 years as to Counts lss and 6ss
            to run concurrently.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ([applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ([applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ([applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check. if

 D The defendant shall participate in an approved program for domestic violence. (Check, ([applicable,)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court and the probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcennt officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
          permission of the court; and

  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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V1             Sheet 3C - Supervised Release

                                                                                                           Judgment Page: 5 of 7
 DEFENDANT: COURTNEY DJARIS WILSON
 CASE NUMBER: 3:1 lcrOO8-02-WKW

                                            SPECIAL CONDITIONS OF SUPERVISION
     Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which will
     include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any
     treatment based on ability to pay and the availability of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AU 245C         (Rev. 09/11) Amended Judgment in a Criminal Case
vI               Sheet 5—Criminal Monetary Penalties

                                                                                                                          Judgment Page: 6 of 7
     DEFENDANT: COURTNEY DJARIS WILSON
     CASE NUMBER: 3:11 crOO8-02-WKW
                                                 CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                            Fine                             Restitution
     TOTALS           $ 700.00                                             $                                  $ 0.00


         The determination of restitution is deferred until 11/21/2012. An Amended Judgment in a Criminal Case (,40 24-5Q will be entered
         after such determination.

     E The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                       Total Loss*               Restitution Ordered Priority or Percentage




 TOTALS                                                                                   $0.00                   $0.00



 LI Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 E The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         U the interest requirement is waived for the              LI fine D restitution.

         U the interest requirement for the            LI fine       LI restitution is modified as follows:



 * Findings for the total anDunt of losses are required under Charters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245C        (Rev. 09/I1) Amended Judgment in a Criminal Case
vi            Sheet 6 - Schedule of Payments
                                                                                                                          Judgment Page: 7 of 7
 DEFENDANT: COURTNEY DJARIS WILSON
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                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of $ 700.00                  -       due immediately, balance due

                 not later than                                      ,or
            F1 in accordance fl C, fl D,                               E, or 0 F below; or

 B fl Payment to begin immediately (may be combined with El C,                              D, or fl F below); or

 C          Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g, months or years), to commence                        (e,g, 30 or 60 days) after the date of this judgment; or

 D    Li Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E i:i Payment during the term of supervised release will commence within -(e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        " Special instructions regarding the payment of criminal monetary penalties:
             All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All crimnal monetarypenalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 Li The defendant shall pay the cost of prosecution.

 Li The defendant shall pay the following court cost(s):

 Li The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
